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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division

CHARLOTTE CHARLES and TIM DUNN,                        )
Individually and as Co-Administrators of the           )
ESTATE OF HARRY DUNN, and                              )
NIALL DUNN, Individually,                              )
       Plaintiffs,                                     )
                                                       )
                         v.                            )       Civil Action No. 1:20-cv-1052
                                                       )
ANNE SACOOLAS and JONATHAN                             )
SACOOLAS,                                              )
     Defendants.                                       )

                                               ORDER

          This action grows out of a tragic fatal car accident that occurred in the United Kingdom on

August 27, 2019. The threshold question presented in this case is whether defendants’ motion to

dismiss this action on forum non conveniens grounds should be granted. Oral argument on this

issue was held telephonically on February 3, 2021, at which time argument focused solely on the

forum non conveniens motion, and oral argument on the remaining Rule 12(b)(6), Fed. R. Civ. P.,

motion to dismiss was postponed pending disposition of the forum non conveniens motion.

          As the motion to dismiss on forum non conveniens grounds has been fully briefed and

argued, that motion is now ripe for disposition. For the reasons that follow, that motion must be

denied.

                                                  I.

          The following facts are derived from the record in this case and are not significantly

disputed:

   •      Plaintiffs Charlotte Charles, Tim Dunn, and Niall Dunn are the parents and twin brother,
          respectively, of the deceased, Harry Dunn, and are all citizens and residents of the United
          Kingdom.

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    •   Defendants Anne and Jonathan Sacoolas are citizens of the United States and residents of
        Virginia. At the time of the accident at issue in this case, defendants had resided in the
        United Kingdom for several weeks. At the time of the accident, Defendant Jonathan
        Sacoolas was employed by the United States Government at the Royal Air Force (“RAF”)
        Croughton United States Air Force Base, and it appears that Defendant Anne Sacoolas was
        employed by the United States Department of State.

    •   The fatal accident at issue in this case occurred on the evening of August 27, 2019. At that
        time, Defendant Anne Sacoolas was driving two of her three children home from dinner at
        RAF Croughton United States Air Force Base when she collided with a motorcycle
        operated by nineteen-year-old Harry Dunn on the B4031 roadway. Defendant Anne
        Sacoolas was operating a British model Volvo SUV owned by Defendant Jonathan
        Sacoolas with the steering wheel on the right side of the car, and was driving on the wrong
        side of the road when she collided with Harry Dunn.

    •   As a result of the accident, Harry Dunn suffered severe injuries, including multiple open
        fractures, internal injuries, and degloving injuries, as well as a head injury.

    •   The Complaint alleges that, although Defendant Anne Sacoolas had a cellphone at the time
        of the accident, she did not call an ambulance for Harry Dunn or otherwise seek medical
        attention for him at that time. It further appears that a passerby who came upon the scene
        shortly after the accident called an ambulance. When paramedics arrived, Harry Dunn was
        conscious, breathing, and able to speak with them.

    •   After speaking with police at the scene of the accident, Defendant Anne Sacoolas, with the
        permission of the police, departed the scene of the accident.

    •   Harry Dunn was taken in an ambulance to a hospital, where he died.

    •   Following the accident, on August 28, 2019, Defendant Anne Sacoolas met with United
        Kingdom police officers at her home in the United Kingdom to discuss the incident in the
        presence of a United States lawyer and a United States Department of State official. In the
        course of the meeting, it appears that Defendant Anne Sacoolas assured the police that she
        had no plans to leave the United Kingdom. It also appears that no mention was made during
        the meeting of the issue of diplomatic immunity for Defendant Anne Sacoolas.1




1
  Facts relating to discussions between defendants and the United Kingdom police and between representatives of the
governments of the United States and United Kingdom are derived from an opinion of the High Court of Justice of
the United Kingdom in which that court concluded that Defendant Anne Sacoolas enjoyed immunity from criminal
prosecution in the United Kingdom stemming from the August 27, 2019 fatal car accident. See R (Charles & Dunn)
v. Secretary of State for Foreign and Commonwealth Affairs [2020] EWHC 3185.

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    •    Several days after the accident, it appears that United States Embassy officials formally
         asserted diplomatic immunity on behalf of Defendant Anne Sacoolas for any criminal
         prosecution stemming from the August 27, 2019 car accident.

    •    It also appears that a series of discussions between representatives of the United States and
         United Kingdom governments followed, during which the United Kingdom representatives
         sought from the United States government a waiver of Defendant Anne Sacoolas’
         diplomatic immunity for the August 27, 2019 car accident. The United States government
         declined to waive diplomatic immunity for the August 27, 2019 car accident and informed
         the United Kingdom government that Defendant Anne Sacoolas and her family would
         depart the United Kingdom the next day. Despite the strong objection of the United
         Kingdom government, Defendant Anne Sacoolas and her family departed the United
         Kingdom the next day, on September 15, 2019.

    •    On December 22, 2019, the Crown Prosecution Service of England and Wales authorized
         the local United Kingdom police to charge Defendant Anne Sacoolas with causing Harry
         Dunn’s death by dangerous driving. On January 10, 2020, the United Kingdom government
         submitted an extradition request to the United States, which the United States denied.

         On September 9, 2020, plaintiffs brought the instant action against defendants in the

Eastern District of Virginia, defendants’ home forum. The action alleges negligence, breach of

duty, and wrongful death.2 On October 30, 2020, defendants filed the instant Motion to Dismiss,

moving for dismissal of the case under the doctrine of forum non conveniens and, alternatively,

for partial dismissal pursuant to Rule12(b)(6), Fed. R. Civ. P.

                                                        II.

         It is well settled that the analysis of a motion to dismiss on forum non conveniens grounds

requires a two-step analysis. First, it is necessary to determine whether the alternative forum—in

this case the United Kingdom—is “available to the plaintiff [and whether] the alternative forum is

adequate.” DiFederico v. Marriott Int’l, Inc., 714 F.3d 796, 800 (4th Cir. 2013). Second, it is

necessary to determine whether the alternative forum is “more convenient in light of the public


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  The Complaint originally included four counts that asserted claims brought under Virginia law. The parties agree
that the laws of England apply to plaintiffs’ claims asserted in the Complaint, and therefore plaintiffs withdrew the
four counts brought under Virginia law. See Pls. Opp’n to Mot. to Dismiss, 2, n. 1.

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and private interests involved.” Id.3 This two-step analysis begins with determining whether the

United Kingdom—the alternative forum—is available and adequate. And in this respect, the

Fourth Circuit has made clear that the party seeking dismissal on forum non conveniens grounds

bears the burden of proving that an available and adequate alternative forum exists. See Galustian

v. Peter, 591 F.3d 724, 731 (4th Cir. 2010).

        The requirement of the availability of an alternative forum “will be satisfied when the

defendant is ‘amenable to process’ in the [foreign] jurisdiction.” Id. (quoting Piper Aircraft Co. v.

Reyno, 454 U.S. 235, 254 n. 22 (1981)). Additionally, the adequacy requirement may be met when

“(1) all parties can come within that forum’s jurisdiction, and (2) the parties will not be deprived

of all remedies or treated unfairly, even though they may not enjoy all the same benefits as they

might receive in an American court.” Fidelity Bank PLC v. N. Fox Shipping N.V., 242 Fed. App’x

84, 90 (4th Cir. 2007). The Supreme Court has also identified that there are certain “rare

circumstances” in which “the remedy offered by the other forum is clearly unsatisfactory,” and

therefore the adequacy requirement in that instance “may not be satisfied.” Piper Aircraft Co., 454

U.S. at 255, n. 22.

        These principles, applied here, point to the conclusion that the United Kingdom arguably

provides an available forum, but not one that is fully adequate. The availability requirement is

arguably satisfied here because defendants are amenable to the service of process in the United

Kingdom. In this respect, the record reflects that defendants have authorized service of process on

their behalf in the United Kingdom, and defendants’ expert declaration makes clear that defendants’

authorization would be sufficient to make defendants subject to service of process in the United


3
 See also Jiali Tang v. Synutra Int’l, Inc., 656 F.3d 242, 248 (4th Cir. 2011); Galustian v. Peter, 591 F.3d 724, 731
(4th Cir. 2010).

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Kingdom. See Declarations of Defendants Anne Sacoolas and Jonathan Sacoolas, Defs. Mem. in

Support of Mot. to Dismiss, Ex. 1 & 2; Expert Opinion on English Law by Howard Palmer Q.C.,

Defs. Reply, Ex. 1. But importantly, although defendants have consented to service of process in

the United Kingdom, they have not agreed to be subject to the service of subpoenas or to the taking

of depositions in the United Kingdom, so in this respect the availability of the United Kingdom

forum is somewhat limited. With this important exception, the forum of the United Kingdom

appears to be an available forum to the extent that defendants agree to service of process in the

United Kingdom.

        Although the United Kingdom is arguably an available forum, it is not one that is fully

adequate. In order for an alternative forum to be adequate, all parties must not “be deprived of all

remedies or treated unfairly” and must be able to “come within that forum’s jurisdiction.” See

Tang, 656 F.3d at 249 (quoting Fidelity Bank PLC, 242 F. App’x at 90). There is no record

evidence to suggest that a forum in the United Kingdom would in any way deprive plaintiffs of all

remedies available under applicable English law or otherwise treat the parties unfairly. Nor is there

any record evidence to suggest that the remedies offered by a United Kingdom court are so clearly

unsatisfactory as to be inadequate. See Piper Aircraft Co., 454 U.S. at 255, n. 22. Nonetheless,

although all parties can enter the United Kingdom, that forum is not fully adequate because

defendants have made clear that they will not return to the United Kingdom to participate in the

trial or other related civil proceedings if the case is brought there. Specifically, defendants’ counsel

in their briefing write that “[n]either Defendant Anne Sacoolas nor Defendant Jonathan Sacoolas

will agree to return to England for depositions or trial.” Defs. Mem. in Support of Mot. to Dismiss,

6. There is no precedent for the proposition that an alternative forum is “adequate” in a forum non

conveniens analysis where, as here, the movants have declared that the movants themselves will

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not return to the alternative forum. 4 Although a trial of the civil claims in this case could

conceivably take place in the United Kingdom without the presence of defendants, that trial would

be a mere bare-bones trial given that evidence from defendants necessary for determining vicarious

liability and damages would have to be taken through deposition or video testimony in the United

States to be presented in the United Kingdom. Such a bare-bones trial is far less preferable than

live testimony presented to a jury, and certainly does not serve the ends of justice or the

convenience of the parties, the jury, and the court.5 Thus, the proposed United Kingdom forum is

in an important sense not adequate given the refusal of defendants to return to the United Kingdom

to participate in the trial and related proceedings.

                                                         III.

         But assuming arguendo that the United Kingdom forum is fully available and adequate,

the next step in the two-part forum non conveniens analysis is to determine whether “the alternative

forum is more convenient in light of the public and private interests involved.” DiFederico, 714

F.3d at 800. In this regard, the Supreme Court has identified several private and public factors

district courts should consider when deciding motions to dismiss on forum non conveniens grounds.

         The private factors identified by the Supreme Court include “(1) the relative ease of access

to sources of proof; (2) availability of compulsory process for attendance of unwilling, and the

cost of obtaining attendance of willing, witnesses; (3) possibility of view of premises, if view


4
 To be sure, if defendants were willing to return to the United Kingdom for trial and related proceedings, a forum non
conveniens dismissal of this action might well be warranted. But given the fact that defendants refuse to return to the
United Kingdom for trial and related proceedings, dismissal of this action on forum non conveniens grounds is clearly
not warranted.
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  Plaintiffs also argue that the Untied Kingdom is an inadequate forum because defendants have not demonstrated that
they have any assets in the forum to satisfy a judgment against them. This factor is more appropriately considered in
the second step of the forum non conveiens analysis. See Gulf Oil Corp. v. Gilbert, 330 U.S. 501, 508 (1947) (including
“questions as to the enforcibility [sic] of a judgment” in the consideration of private interest factors).

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would be appropriate to the action; and (4) all other practical problems that make trial of a case

easy, expeditious and inexpensive.” American Dredging Co. v. Miller, 510 U.S. 443, 448 (1994)

(quoting Gulf Oil Corp. v. Gilbert, 330 U.S. 501, 508-09 (1947)). The Supreme Court has also

identified several public interest factors to consider, including: “(1) [a]dministrative difficulties

flowing from court congestion; (2) local interest in having localized controversies decided at home;

and (3) the interest in having the trial of a diversity case in a forum that is at home with the law

that must govern the action; (4) the avoidance of unnecessary problems in conflict of laws or in

application of foreign law; (5) and the unfairness of burdening citizens in an unrelated forum with

jury duty.” Piper Aircraft Co., 454 U.S. at 241 n. 6 (quoting Gilbert, 330 U.S. at 509).

       Although there is ordinarily a strong presumption in favor of a plaintiff’s choice of forum,

that presumption “applies with less force when the plaintiff or real parties in interest are foreign.”

Piper Aircraft Co., 454 U.S. at 266. However, as the Fourth Circuit has made clear, “[t]his lack of

deference is muted . . . when the defendant is a resident and citizen of the forum he seeks to have

declared inconvenient for litigation.” Galustian, 591 F.3d at 732. Additionally, the Fourth Circuit

has recently highlighted that, while these private and public interest factors guide the analysis of a

motion to dismiss under forum non conveniens, the “ultimate inquiry is where trial will best serve

the convenience of the parties and the ends of justice.” DiFederico, 714 F.3d at 804

(quoting Koster v. (American) Lumbermens Mut. Cas. Co., 330 U.S. 518, 524 (1947)). Moreover,

the Fourth Circuit has also made clear that “[a] defendant seeking dismissal against a non-citizen

plaintiff must make a showing that the ‘relevant public and private interests strongly favor a

specific, adequate, and available alternative forum.’” Id. at 802 (emphasis in original) (quoting

Tang v. Synutra Int’l, Inc., 656 F.3d 242, 246 (4th Cir. 2011)). Therefore, binding precedent makes



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clear that the defendants here seeking dismissal against noncitizen plaintiffs must make a showing

that the private and public factors “strongly favor” the United Kingdom forum. Id.

         Applied here, these principles and factors persuasively support the conclusion that the

relevant private and public interests favor the Eastern District of Virginia retaining jurisdiction

over this case.

         The relevant private interest factors in this case clearly weigh in favor of retaining this case

in the Eastern District of Virginia. Although the fatal car accident that is at the heart of this case

occurred in the United Kingdom, two key witnesses, the two defendants, are available only in the

United States, as they refuse to return to the United Kingdom for trial. Furthermore, all witnesses

identified by plaintiffs have voluntarily agreed to participate in the case and to travel to the United

States to do so. Indeed, defendants have not identified any witness who would be unavailable to

participate in a trial in the Eastern District of Virginia, even as defendants themselves declare that

they will not travel to the United Kingdom to participate in depositions or a trial there. Additionally,

though there may be documentary evidence, such as health and employment records, located in

the United Kingdom, defendants have not presented any evidence or provided any reason to

suggest that such records could not be retrieved or obtained electronically or by mail to be

presented at a trial here. Moreover, although the site of the accident is in the United Kingdom, this

alone is not a decisive factor, particularly in light of the fact that defendants do not dispute that

Defendant Anne Sacoolas was negligent in the operation of a motor vehicle and that her negligence

was the proximate cause of Harry Dunn’s death, thereby rendering unnecessary a visit to the

accident site.6 Finally, the enforceability of any judgment obtained by plaintiffs does not weigh in


6
  While it is commendable that Defendant Anne Sacoolas admits that she was negligent and that her negligence caused
Harry Dunn’s death, this does not equate acceptance of responsibility. Full acceptance of responsibility entails facing
those harmed by her negligence and taking responsibility for her acts where they occurred, in the United Kingdom.
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favor of a United Kingdom forum, since the judgment would be enforceable against defendants in

the United States and against their insurer in the United Kingdom. See Expert Opinion on English

Law by Howard Palmer Q.C., Defs. Reply, Ex. 1.7 Thus, private interests weigh in favor of the

case remaining in the Eastern District of Virginia.

         Additionally, the public interest factors identified by the Supreme Court do not require that

this case be dismissed on forum non conveniens grounds. In this respect, defendants emphasize the

administrative challenge an American forum faces in applying English law. This argument

significantly overstates the challenge, as even those issues requiring the application of potentially

unfamiliar English law will pose little difficulty because the source material is in English. And in

any event, as the Fourth Circuit has observed, interpreting unfamiliar legal sources “is precisely

the kind of work American judges perform on a daily basis.” DiFederico, 714 F.3d at 808. Thus,

this factor does not favor the United Kingdom forum.

         Although the United Kingdom undoubtedly has an interest in this controversy, so too does

the United States, as defendants are citizens of the United States and were representing the United

States in the United Kingdom when the accident occurred. It is significant to note that the United

Kingdom government has expressed firm support for the plaintiffs’ choice of forum in the Eastern

District of Virginia. In this respect, a representative of the United Kingdom has stated:

         I strongly support [plaintiffs’] right to bring this case. It is of course for the US
         courts to decide the issue of venue but for our part the British Government takes
         the view that British citizens can bring their case in whichever court they think


7
  Plaintiffs argue that it is unclear whether a judgment in the United Kingdom would be enforceable against defendants’
insurer in the United Kingdom because the European Union directive requiring the availability of such recovery would
be no longer be in force in a post-Brexit United Kingdom. In fact, as defendants’ expert makes clear, because the
European Union directive was enacted through domestic legislation in the United Kingdom, “any judgment obtained
against [defendants] may be enforced directly against the Insurer” in the United Kingdom. Expert Opinion on English
Law by Howard Palmer Q.C., Defs. Reply, Ex. 1. Because it appears that a judgment would be enforceable against
the insurer in the United Kingdom and against the defendants in the United States, this factor favors neither forum.

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         appropriate. . . . I hope therefore [plaintiffs’] action in the United States is able to
         proceed.

 Letter from the RT Hon Dominic Raab MP, Secretary of State for Foreign, Commonwealth and
 Development Affairs to Charlotte Charles & Tim Dunn (Dec. 10, 2020), Pls. Opp’n to Mot. to
 Dismiss, Ex. 6.

         Because the United States and the United Kingdom both have an interest in this case and

 because the United Kingdom supports this forum, this factor does not warrant dismissal on forum

 non conveniens grounds. Additionally, because this forum has an interest in the case, it is not unfair

 to burden a jury in the Eastern District of Virginia with deciding this controversy. Finally, there is

 no evidence on the record comparing docket condition in the United Kingdom and the Eastern

 District of Virginia, and delays due to Covid-19 impact both forums equally, so that factor favors

 neither forum. Thus, the public factors favor neither forum. In summary, the private and public

 interest factors do not weigh decisively in favor of dismissing on forum non conveniens grounds.

         Seeking to avoid this outcome, defendants argue that this is a damages-only case that could

 be resolved in the United Kingdom without defendants’ presence—or, indeed, without a trial at

 all. Defendants’ position is unsupported by the facts in this case. First, it is not clear that this case

 is damages-only. Defendants dispute the vicarious liability of Defendant Jonathan Sacoolas, and

 that controversy could involve genuine disputes of material fact that testimony from defendants

 would be required to resolve. Therefore, a trial on certain liability issues does not, at this time,

 appear unlikely, and if such a trial were to occur, defendants’ testimony would likely be required.

 Defendants contend that should their testimony be required in the United Kingdom, that testimony

 can be obtained by remote video conference. But it is unclear whether such a procedure would be

 permitted by the United Kingdom court. Moreover, even if such a procedure were allowed in the

 United Kingdom, it is clear that the convenience of the parties, the jury, and the court, which is


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 relevant to the forum non conveniens analysis, would favor a forum in which in-person testimony

 is available for necessary and important witnesses such as defendants.

          Moreover, with respect to damages, Defendant Anne Sacoolas was the first person to

 witness the pain and suffering of Harry Dunn in the aftermath of the accident and before Harry

 Dunn’s death, and therefore she might be a necessary witness on the question of damages relating

 to Harry Dunn’s pain and suffering prior to his death. Indeed, in similar circumstances, the Fourth

 Circuit has emphasized the importance of the personal attendance of the parties.8 Thus, even if this

 case involves solely damages, Defendant Anne Sacoolas’ testimony may well be necessary, and

 in-person testimony would clearly be preferable to any of the alternatives proposed by defendants.

          It should also be noted that there also exists an obvious inconsistency between defendants’

 motion to dismiss on forum non conveniens grounds and the circumstances underlying the case.

 While defendants here argue that the case should be dismissed so that the case may be brought in

 the “more convenient” forum of the United Kingdom, at the same time Defendant Anne Sacoolas

 has declared that she will not return to the United Kingdom to face criminal prosecution because

 “she’s concerned that she will not receive fair treatment both with the press and the local

 community.” Feb. 3, 2021 Hearing Tr. 9:25-10:2. This inconsistency plays no clear role in the

 forum non conveniens analysis, but it underlies many of the factors favoring denial of defendants’

 motion to dismiss on this ground.

          In conclusion, the convenience of the parties and the ends of justice are best served by

 retaining jurisdiction in this case in the Eastern District of Virginia.



 8
  See DiFederico, 714 F.3d at 805 (“[The plaintiffs] may be necessary witnesses on the question of damages. . . .
 Technically, the trial may be able to go forward without the [plaintiffs’] personal attendance. But, [defendant]
 provides no support for the claim that the [plaintiffs’] inability to attend trial in [the alternative forum] would not
 place them at a distinct disadvantage.”).
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